                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

      v.                                               Case No. 06-CR-82

THOMAS DICKMANN
              Defendant.


                            SENTENCING MEMORANDUM

      The government charged defendant Thomas Dickmann with participation in a

conspiracy to distribute more than 500 grams of cocaine. 21 U.S.C. § 841(b)(1)(B).

Defendant’s role consisted primarily of accompanying or running errands for another

member of the conspiracy, for which he was usually compensated with cocaine, most of

which he used himself.

      Defendant pleaded guilty to the offense, and the probation office prepared a pre-

sentence report (“PSR”) in anticipation of sentencing, which set defendant’s offense level

at 27 (base level 30, U.S.S.G. § 2D1.1(b)(5), minus 3 for acceptance of responsibility, §

3E1.1) and his criminal history category at IV, producing an imprisonment range of 100-125

months.

      Neither side objected to the PSR, but defendant moved for a horizontal departure

from his criminal history category under U.S.S.G. § 4A1.3(b)(1) and a non-guideline

sentence of 60 months under 18 U.S.C. § 3553(a). The government advocated a term at

the low end of the applicable guideline range. Upon consideration of the arguments of

counsel and the entire record, I granted defendant’s motion and imposed a sentence of 78



 Case 2:06-cr-00082-LA      Filed 02/06/07    Page 1 of 8    Document 49
months. In this memorandum, I set forth the reasons for the sentence imposed.

                               I. SENTENCING PROCEDURE

         I follow a three-step sentencing procedure in light of United States v. Booker, 543

U.S. 220 (2005). First, I determine the advisory guideline range, resolving any disputes

necessary to that determination. Second, I decide whether to grant any departures

pursuant to the Sentencing Commission’s policy statements. Finally, I select a sentence

that is sufficient but not greater than necessary given all of the factors set forth in 18 U.S.C.

§ 3553(a). E.g., United States v. Peralta-Espinoza, 413 F. Supp. 2d 972, 974 (E.D. Wis.

2006).

                                       II. DISCUSSION

         As noted above, the parties agreed with the PSR’s guideline recommendation.

Therefore, I proceeded to consider defendant’s requests for a departure and a non-

guideline sentence under § 3553(a).

A.       Departure

         Although the guidelines are no longer binding after Booker, the court must still

consider them, 18 U.S.C. § 3553(a)(4), as well as the policy statements promulgated by

the Sentencing Commission, § 3553(a)(5). This includes the Commission’s statements

regarding departures. See Peralta-Espinoza, 413 F. Supp. 2d at 974 n.2 (noting that

although the Seventh Circuit now views departures as irrelevant in determining the

reasonableness of a sentence on appeal, district courts may continue to consider

“traditional” departures).

         On such policy statement is § 4A1.3. That provision provides: “If reliable information



                                                2


 Case 2:06-cr-00082-LA         Filed 02/06/07       Page 2 of 8   Document 49
indicates that the defendant’s criminal history category substantially over-represents the

seriousness of the defendant’s criminal history or the likelihood that the defendant will

commit other crimes, a downward departure may be warranted.” U.S.S.G. § 4A1.3(b)(1).

       I have identified various relevant factors in ruling on a request for departure under

this provision. They include the age of the prior offenses; the defendant’s age at the time

he committed them; whether the prior offenses were committed while the defendant was

under the influence of drugs or alcohol; the circumstances of the defendant’s prior

convictions, i.e. whether they were petty or non-violent; the length of the prior sentences;

what was going on in the defendant’s life at the time he committed the prior offenses; and

the closeness in time of the prior offenses, i.e. whether they were they part of one “spree”

interrupting an otherwise law abiding life. United States v. Chamulak, No. 06-CR-24, 2006

U.S. Dist. LEXIS 80252, at *7-8 (E.D. Wis. Nov. 1, 2006) (citing United States v. Eisinger,

321 F. Supp. 2d 997, 1006 (E.D. Wis. 2004)).

       I found a departure appropriate in the present case. Defendant had three “scored”

offenses: possession of cocaine, for which he was sentenced to one year probation with

sixty days jail; theft, for which he was sentenced to two years probation, which was later

revoked and a sentence of nine months imposed; and retail theft, for which he received a

fine in municipal court. All of these offenses were clustered in 2002, a period of time in

which defendant’s life fell apart and his drug use spiraled out of control. Further, the

offenses were all non-violent, possession and petty theft cases typical of an addict’s

attempt to get money to buy drugs. See, e.g., United States v. Lacy, 99 F. Supp. 2d 108,

119 (D. Mass. 2000) (departing where the defendant’s record was “largely non-violent, and

relatively minor, the kind that characterizes an out-of-control addict”); United States v.

                                              3


 Case 2:06-cr-00082-LA       Filed 02/06/07       Page 3 of 8   Document 49
Hammond, 37 F. Supp. 2d 204, 205 (E.D.N.Y. 1999) (departing from category VI to III

where the defendant “had no history of violent behavior [and his] prior arrests resulted from

minor drug crimes involving facilitation of the sale of drugs and the kind of petty criminality

associated with a poor addict’s attempt to acquire money for the purchase of narcotics”).

The second theft case scored 2 criminal history points only because defendant’s probation

was revoked, but the revocation was due to continued drug use rather than new and

unrelated criminality. He received 2 more points because he committed the instant offense

within two years of his release from jail on the revocation sentence, U.S.S.G. § 4A1.1(e),

but once again drug addiction fueled his involvement in this conspiracy. I did not suggest

that drug addicts are not responsible for their actions, but, as discussed later in this

memorandum, defendant’s record suggested that he could follow the law and behave in

a pro social manner when sober. Finally, none of the prior sentences exceeded nine

months, defendant had never been to prison, and, as noted, all of the priors were simple

possession or minor theft cases.        Therefore, I found that category IV substantially

overstated the seriousness of defendant’s record.          I further found that category IV

overstated the likelihood that he would re-offend, if he addressed his drug use.

       Defendant asked me to depart to category II, but that would have depreciated his

record. I instead departed to category III, which better reflected the seriousness of his

previous criminal conduct. I proceeded finally to imposition of sentence under § 3553(a).

B.     Section 3553(a)

       In imposing sentence, the court considers the factors set forth in § 3553(a):

       (1)   the nature and circumstances of the offense and the history and
       characteristics of the defendant;


                                              4


 Case 2:06-cr-00082-LA       Filed 02/06/07       Page 4 of 8   Document 49
       (2)    the need for the sentence imposed–

              (A) to reflect the seriousness of the offense, to promote respect for the law,
              and to provide just punishment for the offense;

              (B) to afford adequate deterrence to criminal conduct;

              (C) to protect the public from further crimes of the defendant; and

              (D) to provide the defendant with needed educational or vocational training,
              medical care, or other correctional treatment in the most effective manner;

       (3)    the kinds of sentences available;

       (4)    the advisory guideline range;

       (5)    any pertinent policy statements issued by the Sentencing Commission;

       (6)    the need to avoid unwarranted sentence disparities; and

       (7)    the need to provide restitution to any victims of the offense.

18 U.S.C. § 3553(a). The statute directs the court, after considering these factors, to

impose a sentence sufficient but not greater than necessary to comply with the purposes

of sentencing set forth in sub-section (a)(2).

       1.     Nature of Offense

       Defendant was involved in a cocaine distribution conspiracy headed by Mark Cubie,

which moved a large amount of cocaine. However, his involvement was rather limited and

stemmed largely from his own cocaine addiction. Defendant’s role was essentially to

accompany Peter Santoya, another conspiracy member who lived nearby, when Santoya

picked up drugs from Cubie, or to act as a courier for Santoya, delivering money or picking

up drugs. In exchange, defendant received cocaine and sometimes cash. It did not

appear that he engaged in much if any street dealing, but rather hung around other dealers

and assisted them in order to feed his own drug addiction. Nor was there any evidence of

                                              5


 Case 2:06-cr-00082-LA       Filed 02/06/07       Page 5 of 8   Document 49
violence or weapon possession on defendant’s part. Therefore, the offense was mitigated.

       2.     Character of Defendant

       Defendant was thirty-eight years old and the most significant aspect of his

background was his strong drug addiction. It appeared that he had struggled with drug use

for many years, interspersed with periods of sobriety. His criminal and employment record

tracked his drug use.

       In 1990, defendant was twice convicted of marijuana possession. However, in

1994, he married, had a child, worked and stayed out of trouble until 2002 when his drug

use again spiraled out of control. He lost his job of six years in 2000 and the following year

his wife left him, taking their child back to her native Austria contrary to a court order. In

2002, his criminality recommenced with convictions for cocaine possession and theft. It

appeared that his theft convictions stemmed from his need to obtain drugs. In 2002, he

started using crack, escalating to daily usage and, as he told the PSR writer, things “began

falling apart.” He attempted treatment in 2003 and was sober for a time, but then re-

involved himself with Santoya, leading to the instant indictment. He was again arrested

with cocaine after his indictment and release in this case, leading to remand.

       The record suggested that defendant could be a productive member of society.

From 1994 to 2000, he worked and supported his family. Prior to that he served in the

Navy and obtained his GED after he had previously dropped out of high school to join the

service. The major impediment was his drug use, which he had not been able to get under

control, despite previous periods of treatment.




                                              6


 Case 2:06-cr-00082-LA       Filed 02/06/07       Page 6 of 8   Document 49
      3.     Purposes of Sentencing

      I saw no evidence that defendant was dangerous, and if he could get his addiction

under control, he did not pose a significant risk of recidivism. However, there was a need

for a period of confinement to promote respect for the law and deter others, given the

damage drugs cause to the community. Defendant obviously had substance abuse

treatment needs, but given the nature of the offense and defendant’s inability to deal with

those needs in the community, I had to initially address them via recommendations to the

Bureau of Prisons.

      4.     Guidelines

      The guidelines called for a term of 87-108 months after the departure. Under all of

the circumstances, I found that a sentence a bit below the range sufficient to satisfy the

purposes of sentencing. The guideline range was high based on the amount of cocaine

involved. However, as discussed, defendant did not personally deal large amounts.

Rather, for the most part, he just rode along with, or ran errands for, Santoya. At times,

he may have placed other area dealers in contact with Cubie to obtain drugs. Essentially,

he hung around this conspiracy in order to meet his own drugs needs. Thus, his role in the

offense was mitigated.

      Defendant also had strong family support, despite his ups and downs. They

recognized that defendant needed to be separated from his criminal associates and

undergo substantial treatment, and were willing to help him when he emerged. Their help

would assist in his re-integration and reduce the likelihood of recidivism. I also received

a letter from defendant’s brother-in-law, a psychologist, who recommended a period of



                                             7


 Case 2:06-cr-00082-LA      Filed 02/06/07       Page 7 of 8   Document 49
incarceration to allow defendant to dry out and get treatment. The letter also indicated that

defendant was remorseful and motivated to change, sentiments defendant echoed in his

sentencing allocution.

                                    III. CONCLUSION

       Under all of the circumstances, I found a sentence of 78 months sufficient but not

greater than necessary. This sentence adequately addressed the mitigating factors

discussed, while still providing for just punishment and deterrence. Because it varied only

about 1 level from the guidelines after the departure and was based on the specific facts

of the case, it did not create unwarranted disparity.

       Therefore, I committed defendant to the custody of the Bureau of Prisons for 78

months, with a recommendation that he participate in any drug abuse treatment programs

available, including the 500 hour residential program. Upon release, I ordered him to serve

a four year supervised release term, with a drug aftercare condition Other conditions of

the sentence appear in the judgment.

       Dated at Milwaukee, Wisconsin, this 6th day of February, 2007.


                                          /s Lynn Adelman
                                          ______________________________
                                          LYNN ADELMAN
                                          District Judge




                                              8


 Case 2:06-cr-00082-LA       Filed 02/06/07       Page 8 of 8   Document 49
